  8:05-cr-00288-JFB-FG3            Doc # 43   Filed: 11/28/05   Page 1 of 1 - Page ID # 58




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )            Case No. 8:05CR288
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                   ORDER
                                              )
DWAYNE YOUMANS,                               )
                                              )
                      Defendant.              )


       IT IS ORDERED that a change of plea for the defendant, Dwayne Youmans, is

scheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S.

Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on December 7, 2005, at 1:00 p.m.

Since this is a criminal case, the defendant shall be present, unless excused by the court.

If an interpreter is required, one must be requested by the plaintiff in writing five (5) days in

advance of the scheduled hearing.

       DATED this 28th day of November, 2005.

                                              BY THE COURT:




                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
